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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )         CRIMINAL NO. 19-10113-FDS
                                              )
LOUIS D. COLEMAN, III                         )
                                              )

         GOVERNMENT’S NOTICE REGARDING THE DEATH PENALTY

    The United States hereby provides notice that it will not seek the death penalty against

Defendant Louis Coleman.


                                                         Respectfully submitted,

                                                         Nathaniel R. Mendell
                                                         Acting United States Attorney

                                                  By:    /s/Kenneth G. Shine
                                                         KENNETH G. SHINE
                                                         ROBERT E. RICHARDSON
                                                         WILLIAM F. ABELY
                                                         Assistant U.S. Attorneys

Date: November 4, 2021



                             CERTIFICATE OF SERVICE

I hereby certify that this filing will be filed via ECF and thereby served on all counsel of
record for Defendant Louis D. Coleman III.

                                                        /s/ Kenneth G. Shine
                                                        KENNETH G. SHINE
